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                                                        United States District Court
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             CR 16-00442-CAS-4

Defendant         JOSUE GARIBAY                                             Social Security No. 5           7    8     4

akas: Malo                                                                  (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.        AUG     12    2019


 COUNSEL                                                               Jay Lichtman, Appointed
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Conspiracy to Violate Civil Rights in violation of 18 U.S.C. § 241, as charged in Count 1 of the
                      Indictment; Violent Crime in Aid of Racketeering; Aiding and Abetting in violation of 18 U.S.C. § 1959
  FINDING             (a) (3); 2(a) as charged in Count 2 of the Indictment; Interference with Housing Rights by Force; Aiding
                      and Abetting in violation of 42 U.S.C.§ 3631; 18 U.S.C. § 2(a) as charged in Count 4 of the Indictment;
                      and Use Fire and Carry Explosive to Commit Another Federal Felony; Aiding and Abetting in violation
                      of 18 U.S.C. § 844 (h) (1), (h)(2), 2(a) as charged in Count 7 of the Indictment.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is
                      the judgment of the Court that the defendant is hereby committed on Counts 1, 2, 4 and 7 of the
                      Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of: ONE HUNDRED
                      FORTY-FOUR (144) MONTHS. This term consists of 24 months on each of Counts 1, 2, and 4, to be
                      served concurrently, and 120 months on Count 7, to be served consecutively.

It is ordered that the defendant shall pay to the United States a special assessment of
$400, which is due immediately. Any unpaid balance shall be due during the period of
imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663A.
Pursuant to 18 U.S.C. § 3664(d)(5), a final determination of the victim's losses will be
ordered at a deferred restitution hearing after such information becomes available. An
amended judgment will be entered after such determination.



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Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the
defendant has established that he is unable to pay and is not likely to become able to pay
any fine.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of
the defendant and provide all necessary treatment.
Upon release from imprisonment, the defendant shall be placed on supervised release for
a term of three years. This term consists of three years on each of Counts 1, 2, 4, and 7 of
the Indictment, all such terms to run concurrently under the following terms and
conditions:

1.        The defendant shall comply with the rules and regulations of the United States
          Probation Office and General Order 05-02, with the exception of Standard
          Conditions 5, 6 and 14 of that order.

2.        As directed by the probation officer, the defendant shall notify specific persons and
          organizations of specific risks and shall permit the probation officer to confirm the
          defendant’s compliance with such requirement and to make such notifications.

3.        The defendant shall refrain from any unlawful use of a controlled substance. The
          defendant shall submit to one drug test within 15 days of release from custody and
          at least two periodic drug tests thereafter, not to exceed eight tests per month, as
          directed by the Probation Officer.

4.        The defendant shall participate in an outpatient substance abuse treatment and
          counseling program that includes urinalysis, breath and/or sweat patch testing, as
          directed by the Probation Officer. The defendant shall abstain from using alcohol
          and illicit drugs, and from abusing prescription medications during the period of
          supervision.

5.        As directed by the Probation Officer, the defendant shall pay all or part of the costs
          of the Court-ordered treatment to the aftercare contractors during the period of
          community supervision. The defendant shall provide payment and proof of payment
          as directed by the Probation Officer. If the defendant has no ability to pay, no
          payment shall be required.

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6.        During the period of community supervision, the defendant shall pay the special
          assessment in accordance with this judgment's orders pertaining to such payment.

7.        When not employed or excused by the Probation Officer for schooling, training, or
          other acceptable reasons, the defendant shall perform 20 hours of community
          service per week as directed by the Probation Office.

8.        The defendant shall cooperate in the collection of a DNA sample from the
          defendant.

9.        The defendant shall not associate with anyone known to him to be a Big Hazard or
          Mexican Mafia gang member and others known to him to be participants in the Big
          Hazard or Mexican Mafia gang's criminal activities, with the exception of family
          members. He may not wear, display, use or possess any gang insignias, emblems,
          badges, buttons, caps, hats, jackets, shoes, or any other clothing that defendant
          knows evidence affiliation with the Big Hazard or Mexican Mafia gang, and may
          not display any signs or gestures that defendant knows evidence affiliation with the
          Big Hazard or Mexican Mafia gang.

10. As directed by the Probation Officer, the defendant shall not be present in any area
    known to him to be a location where members of the Big Hazard or Mexican Mafia
    gangs meet and/or assemble.

11. The defendant shall not reside in Hazard gang territory; namely, the geographic
    confines of the Ramona Gardens Housing Development without the prior approval
    of the Probation Officer; and

12. The defendant shall be subject to search by any law enforcement entity of his
    person, residence, vehicle, or cell phone, with or without reasonable suspicion, at
    any time.

The Court authorizes the Probation Office to disclose the Presentence Report to the
substance abuse treatment provider to facilitate the defendant's treatment for narcotic
addiction or drug dependency. Further redisclosure of the Presentence Report by the
treatment provider is prohibited without the consent of the sentencing judge.



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The Court recommends to the Bureau of Prisons that the defendant participate in the
500-hour Residential Drug and Alcohol Program.

The Court further recommends that the defendant be designated to a Southern California
facility.

The Court advised the defendant of his right to appeal.

Government’s motion to dismiss the remaining counts of the Indictment is granted.




In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           August 13, 2019
           Date                                                  Christina A. Snyder, U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                 Clerk, U.S. District Court




           August 13, 2019                                 By    /s/ V.R. Vallery
           Filed Date                                            Deputy Clerk




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The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation              specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                           probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by               requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable      15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                       from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                          defendant; and provide the defendant with needed educational or
                                                                                    vocational training, medical care, or other correctional treatment in
                                                                                    the most effective manner.




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     The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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